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                  EXHIBIT B-102
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                    IN THE SUPERIOR COURT OF FULTON COUNT                         FILED IN OFFICE
                                      STATE OF GEORGIA

INRE:                                          )
                                               )       2022-EX-000024
SPECIAL PURPOSE GRAND JURY                     )
                                               )       Judge Robert C. I. McBurney
                                               )
                                               )       ***FILED UNDER SEAL***
                                               )


      MOTION TO DISQUALIFY ATTORNEYS HOLLY A. PIERSON AND
      KIMBERLY BOURROUGHS DEBROW IN THEIR SIMULTANEOUS
  REPRESENTATION OF MARK AMICK, JOSEPH BRANNAN, BRAD CARVER,
  VIKKI TOWNSEND CONSIGLIO, JOHN DOWNEY, CAROLYN HALL FISHER,
GLORIA KAY GODWIN, CATHLEEN ALSTON LATHAM, DAVID SHAFER, SHAWN
    STILL, AND C.B. Y ADA V AND PROHIBIT THEM FROM ANY FURTHER
   PARTICIPATION IN THIS MATTER PURSUANT TO GEORGIA RULES OF
PROFESSIONAL CONDUCT RULES 1.6, 1.7, AND 1.9 AND OTHER RELEVANT LAW


        COMES NOW District Attorney Fani T. Willis, Atlanta Judicial Circuit, by and through

the undersigned counsel, and moves this Court to disqualify attorneys Holly A. Pierson and

Kimberly Bourroughs De brow in their simultaneous representation of the above-listed parties and

prohibit them from any further participation in this matter pursuant to Georgia Rules of

Professional Conduct Rules 1.6, 1.7, and 1.9 and other relevant law, and in support says as follows.


                                       I. INTRODUCTION

        The Georgia Rules of Professional Conduct plainly state that "a lawyer shall not represent

or continue to represent a client ifthere is a significant risk that the lawyer's own interests or the

lawyer's duties to another client, a former client, or a third person will materially and adversely

affect the representation of the client," subject to limited exceptions requiring written informed

consent of the client. GA. R. & REGS. ST. BAR 1.7(a). Client consent is not permissible if the
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representation "includes the assertion of a claim by one client against another client represented

by the lawyer in the same or a substantially related proceeding" or if the representation "involves

circumstances rendering it reasonably unlikely that the lawyer will be able to provide adequate

representation to one or more of the affected clients." GA.R. &REGS.ST.BAR l.7(c). "In a criminal

case, inquiry by the court is generally required when a lawyer represents multiple defendants."

GA.R. &REGS. ST. BAR 1.7, Comment 15 (emphasis added). "Where the conflict is such as clearly

to call into question the fair or efficient administration of justice, opposing counsel may properly

raise the question." Id. "The prosecutor has the responsibility of a minister of justice and not simply

that of an advocate. This responsibility carries with it specific obligations to see that the defendant

[or, in this case, the target of a grand jury investigation] is accorded procedural justice." GA. R. &

REGS.ST.BAR3.8, Comment 1. "In light of the prosecutor's public responsibilities, broad authority

and discretion, the prosecutor has a heightened duty of candor to the courts and in fulfilling other

professional obligations." ABA STAND.CRIM.JUST.REL.PROS.FUNCT.3-l .4(a).

       Accordingly, as set forth below, and in conformity with the Georgia Rules of Professional

Conduct and relevant guidance related to the ethical duties and obligations of prosecutors under

applicable rules, statutes, and both the United States Constitution and the Georgia Constitution,

the District Attorney is compelled to move the Court to disqualify attorneys Holly A. Pierson and

Kimberly Bourroughs De brow in their simultaneous representation of their 11 clients who have

been summoned to appear before the special purpose grand jnry and to prohibit them from any

further participation in this matter. The District Attorney is so compelled not only because it is

paramount that the District Attorney, as a minister of justice, must guarantee that the constitutional

and statutory rights of all persons are preserved at every stage of a criminal proceeding, but also

because the District Attorney's failure to do so would be fundamentally at odds with every




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lawyer's duties as "a representative of clients, an officer of the legal system, and a citizen having

special responsibility for the quality of justice." GA.R. & REGS. ST. BAR,PMBL.


                    II. FACTUAL AND PROCEDURAL BACKGROUND

       On January 24, 2022, Fulton County Superior Court Chief Judge Christopher S. Brasher

issued an order authorizing the impaneling of a special purpose grand jury to investigate the facts

and circumstances relating directly or indirectly to possible attempts to disrupt the lawful

administration of the 2020 elections in the State of Georgia. This order was issued pursuant to a

lawful request by the District Attorney.




       During the course of her investigation, the District Attorney learned that attorneys Holly

A. Pierson and Kimberly Bourroughs Debrow had been retained by

to simultaneously represent 11 relevant witnesses, including Mark Amick, Joseph Brannan, Brad

Carver, Vikki Townsend Consiglio, John Downey, Carolyn Hall Fisher, Gloria Kay Godwin,

Cathleen Alston Latham, David Shafer, Shawn Still, and C.B. Yadav, each of whom had signed

their names to the false certificate of vote purporting to be the duly elected and qualified electors



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for the State of Georgia at the meeting on December 14, 2020.




       After considering all of the relevant evidence outlined above and other relevant evidence

received from collateral sources, the District Attorney determined that each of Pierson and

Debrow's 11 clients had become targets of the special purpose grand jury's investigation. A letter

reflecting this change in status was delivered to Pierson and Debrow for each of their 11 clients on

July 5, 2022, so that their clients would be notified of this change in status prior to giving testimony

before the special purpose grand jury and so that counsel could advise their 11 clients on the legal

consequences of this change in status. Subpoenas were also served on each of Pierson and

Debrow's 11 clients commanding them to appear and testify before the special purpose grand jury.

        On July 19, 2022, Pierson and Debrow filed a motion to quash in their entirety the

subpoenas issued to each of their 11 clients, claiming in part that their 11 clients are immune from

state prosecution as a matter of law and that the subpoenas are unnecessary, unreasonable, and




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oppressive. A hearing on the issue was held, and the Court denied the motion.




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-          Accordingly, on August I, 2022, the District Attorney filed a Motion for Leave to File

Under Seal Pursuant to Uniform Superior Court Rule 21 in order to file the present Motion to

Disqualify outside of public view to protect the privacy interests of each of Pierson and Debrow's




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11 clients related to their choice of counsel, which is of little or no public concern, and other

sensitive matters concerning evidence received by the special purpose grand jury in secret.

       In addition to the above, the District Attorney reasonably believes that her investigation to

this date has established the following facts that are material to demonstrating a conflict of interest

in Pierson and Debrow's simultaneous representation of their 11 clients in this matter:

        1)




             -
       2) David Shafer currently serves as the Chairman of the Georgia Republican Party and

             held the same office on December 14, 2020.

       3) Shawn Still was the Secretary of the Georgia Republican Party on December 14,

             2020.

       4)




       5)




       6)




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 7)
      -

 8)




 9)




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         10)




         11)




5 A total of four individuals were lawfully nominated as electors for the Georgia Republican Party pursuant to

O.C.G.A. § 21-2-172 and did not participate in the meeting on December 14, 2020. They were Patrick Gartland,
Susan Holmes, John A. Isakson, and CJ Pearson. The fourth individual purportedly nominated and certified by
David Shafer and Shawn Still as a "replacement elector" is not represented by Pierson and Dcbrow, and the District
Attorne has been barred from further investi ation of that individual b the Court.



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       12)




                                     III. LEGAL ANALYSIS

   A. Witnesses before a grand jury have no constitutional right to counsel and therefore
      no constitutional right to choice of counsel, which widely broadens the Court's
      discretion to disqualify Pierson and Debrow.

       It is well settled in the law that both the Sixth Amendment to the United States Constitution

and Article 1, Section 1, Paragraph XIV, of the Georgia Constitution guarantee the right of an

accused in a criminal prosecution to have the benefit of counsel. See Lewis v. State, 312 Ga. App.

275,279 (2011). Additionally, it is well settled that a crucial element of this right is the right to

choice of counsel for defendants who do not require appointed counsel. Id (emphasis added). What

may seem less clear is what right to counsel, if any, is afforded to witnesses during a grand jury

proceeding. See United States v. Gaddy, 894 F.2d 1307, 1314 (11th Cir. 1990). The United States

Supreme Court held in United States v. Mandujano that a "witness before a grand jury cannot

insist, as a matter of constitutional right, on being represented by his counsel." 425 U.S. 564, 581

(1976) (internal citations omitted). Said differently, a witness testifying before a grand jury has no

constitutional right to have his counsel present inside the grand jury room. Id. Moreover, neither

federal courts nor Georgia courts have ever held that a constitutional right to counsel exists during

other phases of a grand jury proceeding. Gaddy at 1314.

       In this case, it is essential to note that the District Attorney has afforded all witnesses

appearing before the special purpose grand jury the opportunity to consult with counsel, at their



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own request and as much as needed, throughout the course of their testimony. But in this Court's

analysis of the disqualification issues brought before it by the District Attorney, the Court must

distinguish between a courtesy offered by the District Attorney and any potential claim of a

constitutional right that does not exist. Because no constitutional right to counsel exists for

witnesses appearing before a grand jury, it follows.that neither does a constitutional right to choice

of counsel. See Gaddy at 1314. With this in mind, because none of Pierson and Debrow's 11 clients

have been charged with a crime and thus no constitutional right to counsel or choice of counsel

has yet been implicated, the Court's discretion to grant the District Attorney's motion to disqualify

is widely broadened when compared to cases in which a prosecutor moves to disqualify counsel

after a charging instrument has been filed. Cf Lewis at 282.


    B. Pierson and Debrow's simultaneous representation of their 11 clients is rife with
       serious ethical problems, and these actual conflicts of interest and serious potential
       for future conflicts violate Rule 1.7 of the Georgia Rules of Professional Conduct.

       Rule 1.7 of the Georgia Rules of Professional Conduct prohibits a lawyer from representing

or continuing to represent a client "if there is a significant risk that the lawyer's own interests or

the lawyer's duties to another client, a former client, or a third person will materially and adversely

affect the representation of the client," except as permitted in limited circumstances requiring

written informed consent of the client. GA. R. & REGS. ST. BAR l.7(a). Client consent is not

permissible if the representation "includes the assertion of a claim by one client against another

client represented by the lawyer in the same or a substantially related proceeding" or if the

representation "involves circumstances rendering it reasonably unlikely that the lawyer will be

able to provide adequate representation to one or more of the affected clients." GA. R. & REGS. ST.

BAR l.7(c). The potential for conflict of interest in representing multiple parties in a criminal




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matter "is so grave that ordinarily a lawyer should decline to represent" more than one party in

such a circumstance. GA. R. & REos. ST. BAR 1.7, Comment 7.

       In Heidt v. State, the Georgia Supreme Court upheld a trial court's disqualification of

counsel when Heidt hired attorney Manubir Arora to assist in his defense while Arora

simultaneously represented Heidt's sister-in-law Robin, who had been arrested and charged with

intimidating a witness in the case against Heidt, despite the fact that Heidt and Robin had consented

to simultaneous representation. 292 Ga. 343 (2013). Notably, the prosecutor intended to call Robin

as a witness at Heidt's trial. Id at 347. The Court held that while "Heidt and Robin may not have

foreseen any conflict between their interests at the time that they consented to the dual

representation, we know that their interests ultimately were not aligned, inasmuch as Robin ended

up testifying against Heidt, and the criminal charges against her were dismissed." Id. The trial

court disqualified Arora, and the Court affirmed the disqualification because "the prospects of

Arora advising Robin about any deal that might be proposed by the State to secure her testimony

against Heidt or cross-examining her on behalf of Heidt were rife with serious ethical problems."

Id. The trial court further ruled that "Arora's representation of Robin would materially and

adversely affect his representation of Heidt" in violation of Rule l.7(c)(3), and the Georgia

Supreme Court agreed. Id. Moreover, the Court recognized that in cases where a constitutional

right to choice of counsel exists - and the District Attorney maintains that no such constitutional

right exists in the present case - "the presumption in favor of an accused's choice of counsel ...

may be overcome not only by a demonstration of an actual conflict of interest but by a showing of

a serious potential for conflict." Id at 346 (internal citations omitted) (emphasis added). It follows

that such a showing of either an actual conflict of interest or a serious potential for conflict is also




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sufficient to authorize a trial court to disqualify counsel pursuant to Rule I. 7 where no

constitutional right to counsel or choice of counsel has yet attached.




                                                    This situation clearly "involves circumstances

rendering it reasonably unlikely that the lawyer will be able to provide adequate representation to

one or more of the affected clients," and such representation is expressly forbidden by the Rules

of Professional Conduct. GA. R. & REGS.ST. BAR 1.7(c)(3).




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    C. Pierson and Debrow's simultaneous representation of their 11 clients poses a serious
       risk to the fundamental principle of confidentiality of information relating to the
       representation, and, if disqualified, they should be prevented from any further
       participation in this matter in order to maintain the duty of confidentiality.

       Rule 1.6 of the Georgia Rules of Professional Conduct provides that a lawyer "shall

maintain in confidence all information gained in the professional relationship with a client,

including information which the client has requested to be held inviolate or the disclosure of which

would be embarrassing or would likely be detrimental to the client, unless the client gives informed

consent." GA. R. & REGS. ST. BAR L6(a). "The duty of confidentiality shall continue after the

client-lawyer relationship has terminated." GA.R. & REGS. ST.BAR 1.6(c). In order to protect the

ongoing duty of confidentiality arising from a former attorney-client relationship, Rule 1.9

provides that a "lawyer who has formerly represented a client in a matter ... shall not thereafter

use information relating to the representation to the disadvantage of the former client ... [or] reveal

information relating to the representation." GA.R. & REGS. ST.BAR 1.9(c).

       In Edwards v. State, the Court of Appeals of Georgia upheld the trial court's sua sponte

disqualification of the defendant's counsel after a jury was impaneled and sworn to try that

defendant on charges of rape and child molestation. 336 Ga. App. 595 (2016). Prior to the

presentation of any evidence, the defendant's counsel and the prosecutor brought to the attention

of the trial court that the defendant's counsel had previously represented the victim's mother in

unrelated proceedings and, through that representation, had learned confidential information that

could be used to impeach her if she were to testify at the trial of Edwards. Id at 595. Nothing in

the record showed that the victim's mother had waived the conflict or consented to the disclosure

or use of the confidential information. Id at 596. The Court of Appeals noted that, in that case, the

conflict could have been waived if both the current and former clients had consulted with their

attorney, had received in writing reasonable and adequate information about the material risks and



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reasonable available alternatives to the representation, and an opportunity to consult with

independent counsel. Id at 599. But in that case, the conflict only dealt with the potential use of

information to the disadvantage of only a single former client.

        In this case, the body of information - including potentially incriminating information and

information that could be used for impeachment or otherwise to the disadvantage of a former client

- gained by Pierson and Debrow concerning each of their 11 clients in the course of their

simultaneous representation is undoubtedly vast. The serious potential that any of that information

might be used to the disadvantage of a former client, should Pierson and Debrow be allowed to

continue in their representation of even just one of the 11, must be a matter of grave concern for

the Court. Obtaining informed consent in accordance with the provisions of Rule l.7(b) for up to

as many as ten former clients, solely for the sake of continued representation of just one of them,

would be an enormously complicated undertaking with the potential for ethical problems at

multiple stages and little opportunity for a meaningful remedy for the affected former clients

should an ethical violation occur. Accordingly, in order to avoid potential violations of Rules 1.6,

1.7, and 1.9 of the Georgia Rules of Professional Conduct, the only appropriate course of action

by the Court is a prophylactic one: prohibiting Pierson and Debrow from any further participation

in this matter.


                                         IV. CONCLUSION

        As set forth above, the Georgia Rules of Professional Conduct plainly state that a lawyer

has a conflict of interest "if there is a significant risk that the lawyer's own interests or the lawyer's

duties to another client, a former client, or a third person will materially and adversely affect the

representation of the client." GA. R. & REGS. ST. BAR l.7(a). Such a conflict cannot be waived if

representation "includes the assertion of a claim by one client against another client represented



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by the lawyer in the same or a substantially related proceeding" or if the representation "involves

circumstances rendering it reasonably unlikely that the lawyer will be able to provide adequate

representation to one ormore of the affected clients." GA. R. & REGS. ST. BAR l.7(c).

       Further, a lawyer must generally maintain in confidence all information gained as a result

of the attorney-client relationship, even after that relationship has terminated. GA. R. & REGS. ST.

BAR 1.6(c). In order to protect the ongoing duty of confidentiality arising from a former attorney-

client relationship, a "lawyer who has formerly represented a client in a matter . . . shall not

thereafter use information relating to the representation to the disadvantage of the former client ...

[or] reveal information relating to the representation." GA. R. & REGS. ST. BAR l .9(c).




       Should Pierson and De brow be allowed to continue in their representation of even just one

of the 11, there is a serious possibility of future ethical problems concerning confidentiality of

information obtained in the course of their representation thus far. Moreover, if continued

participation in this matter in any way were allowed, there would be little opportunity for a

meaningful remedy for the affected former clients should an ethical violation occur.




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       Accordingly, the appropriate remedy under Rules 1.6, 1.7, and 1.9 of the Georgia Rules of

Professional Conduct and other relevant law is disqualification of attorneys Holly A. Pierson and

Kimberly Bourroughs Debrow in their simultaneous representation of their 11 clients in this matter

and prohibition of any further participation by Pierson or Debrow in this matter.

       WHEREFORE, based on the foregoing facts and law, the District Attorney respectfully

requests that this Court disqualify attorneys Holly A. Pierson and Kimberly Bourroughs Debrow

in their simultaneous representation of the above-listed parties and prohibit them from any further

participation in this matter pursuant to Georgia Rules of Professional Conduct Rules 1.6, 1.7, and

1.9 and other relevant law.

       Respectfully submitted this the 30th day of September, 2022,

                                                      FANI T. WILLIS
                                                      DISTRICT ATTORNEY




                                                             o                . 410684
                                                      Depu      istrict Attorney
                                                      Atlanta Judicial Circuit
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                                                      Atlanta, Georgia 30303




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                     Exhibit A
                           [REDACTED]
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                     Exhibit B
                           [REDACTED]
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                                CERTIFICATEOF SERVICE

        I hereby certify that a copy of the foregoing Sealed Motion to Disqualify Attorneys Holly
A. Pierson and Kimberly Bourroughs Debrow will be immediately served upon Holly A. Pierson
and Kimberly Bourroughs Debrow, counsel for the persons in interest, via electronic mail, upon
the entry of an order sealing this matter by the Court, this the 30th day of September, 2022,

                                                    FANI T. WILLIS
                                                    DISTRICTATTORNEY




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                                                    Dep       1strict Attorney
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